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                   IN THE UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF MICHIGAN


Emily Evans, et al.,

         Plaintiffs,                           Case No. 21-10575-RHC-APP
                                               Hon. Robert H. Cleland
v.                                             Mag. Judge R. Steven Whalen


The City of Ann Arbor, et al.,

     Defendants.
__________________________________________________________________




               DEFENDANT KRICHBAUM’S REPLY IN SUPPORT
                 OF HIS FRCP 12 (b) (1) AND 12 (b) (6) MOTION




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         A.    The Barton Doctrine requires the dismissal of plaintiffs’
               claims against Krichbaum.

         Plaintiffs’ response to Krichbaum’s Barton Doctrine defense is entirely

hollow. Barton applies here, and the continued pursuit of claims against Krichbaum

in this forum cannot be squared with counsel’s Rule 11 obligations.

         Plaintiffs open their argument by announcing that, “[i]n the case of a court-

appointed receiver, there is no requirement that the party seeking relief in federal

court must first obtain the permission of the state court which appointed the

receiver.” ECF No. 42, PageID.2036, Plaintiffs’ Response Brief. But that of course

is exactly what the Barton Doctrine requires.

         Plaintiffs then declare that the Barton does not apply because their lawsuit

was filed pursuant to 42 U.S.C. §1983. Yet plaintiffs fail to cite a single case that

holds the Barton Doctrine inapplicable where a Section 1983 claim is alleged. In

fact, there are numerous cases in which plaintiffs have alleged a Section 1983 claim

and Barton is applied. See e.g., Lawrence v. Goldberg, 573 F.3d 1265, 1268 (11th

Cir. 2009) (applying Barton where plaintiff alleged a bankruptcy trustee infringed

his constitutional rights under Section 1983 by, inter alia, the violation of federal

wiretapping laws); Cox v. Mariposa County, 2020 WL 1689706, at *3 (E.D. Cal.

2020) (applying Barton as to a claim against a state court receiver alleged to have

violated plaintiff’s Section 1983 rights); Satterfield v. Malloy, 2011 WL 2293940, at

*2 (N.D. 2011), aff’d 700 F.3d 1231, 1234 (10th Cir. 2012) (applying Barton as to
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a claim against a Chapter 11 trustee alleging 42 U.S.C. §1985 (2) and Bivens claims);

Estate of Jackson ex rel. Jackson-Platts v. Sandnes, 995 F.Supp.2d 1350, 1353

(M.D. Fla. 2014) (noting that the court had dismissed plaintiff’s Section 1983 claims

against a state court receiver under Barton).

         Plaintiffs cite two cases in support of their contention that the Barton Doctrine

does not apply where the plaintiff pleads a Section 1983 claim. See ECF No. 42,

PageID.2036, Plaintiffs’ Response Brief. However, the Barton Doctrine is not

mentioned in either of them.

         Finally, plaintiffs argue that Barton v. Barbour, 104 U.S. 126, 26 L.Ed. 672

(1881) (the case from where the Barton Doctrine takes its name) and the other

Barton Doctrine cases cited by Krichbaum are distinct because no Section 1983

claim was made.         However, as the above discussion demonstrates, that is a

“distinction” without a difference.

         B.    Rooker-Feldman bars plaintiffs’ constitutional claim against
               Krichbaum.

         Count 5 purports to allege constitutional torts against Krichbaum. In it,

plaintiffs directly attack the state court judgment itself. Thus, plaintiffs allege:

         158. Since the Judgment upon which the creation of the receivership
              [is based] was obtained by fraud on the court and the subornation
              of perjury, and is therefore null and void, the receivership should
              be dissolved.




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         159. Since the receivership should never have been created, any fees
              which Krichbaum claims he is owed for his services as receiver
              are null and voice. . . .

ECF No. 1, PageID.65, Complaint. For relief, plaintiffs pray for “entry of an

injunction dissolving the receivership and cancelling all fees” claimed by

Krichbaum. Id.

         On their face, these allegations readily reflect that Evans, with respect to

Count 5, is one of the “state-court losers complaining of injuries caused by state-

court judgments” whose claims are barred by Rooker-Feldman. See Exxon Mobil

Corp. v. Saudi Basic Ind. Corp., 544 U.S. 280, 281 (2005).

         However, plaintiffs argue that Rooker-Feldman does not apply here because

Evans has alleged that the judgment against her was procured by fraud and perjury.

Plaintiffs base their argument on the Supreme Court’s holding in Exxon Mobil that

Rooker-Feldman does not extend to a case in which a federal plaintiff “present[s]

some independent claim, albeit one that denies a legal conclusion that a state court

has reach in a case to which he was a party . . . .” Id. at 293 (citations omitted).

Thus, plaintiffs contend, their “procured by fraud” allegation presents exactly the

type of “independent claim” that Exxon Mobil contemplates. Exxon, supra. at 282.

         As against Krichbaum, though, review of relevant case law proves plaintiffs’

argument to be unsustainable. In McCormick v. Braverman, 451 F.3d 382 (6th Cir.

2006), the Sixth Circuit, discussed the seemingly muddy distinction between “a


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claim that attacks a state court judgment” as to which Rooker-Feldman applies and

“an independent claim” as to which it does not. The Court stated:

         The question naturally arises as how to differentiate between a claim
         that attacks a state court judgment, which is within the scope of the
         Rooker–Feldman doctrine, and an independent claim, over which a
         district court may assert jurisdiction.

Id. at 393.

         To give guidance, the Court formulated the “rule of thumb” that focused on

the “source of the injury:”

         The inquiry then is the source of the injury the plaintiff alleges in the
         federal complaint. If the source of the injury is the state court decision,
         then the Rooker–Feldman doctrine would prevent the district court
         from asserting jurisdiction. If there is some other source of injury, such
         as a third party’s actions, then the plaintiff asserts an independent claim.

Id. at 393. Emphasis added.

         The Court, however, noted that there are exceptions to this “rule of thumb.”

Relying on the Second Circuit’s decision in Hoblock v. Albany County Bd. of

Elections, 422 F.3d 77, 87–88 (2d Cir. 2005), the Sixth Circuit stated:

         Of course, there are certain exceptions to this rule of thumb. For
         example, if a third party’s actions are the product of a state court
         judgment, then a plaintiff’s challenge to those actions are in fact a
         challenge to the judgment itself. See [Hoblock], id at 88 (finding that
         that the plaintiffs’ challenge to a county board of elections’ refusal to
         tally certain absentee ballots was in fact a challenge to the state court
         judgment that the ballots were invalid).

McCormick, id. at 394.



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         In Kropek v. Sullivan, 35 F.Supp.3d 880, 888 (E.D. Mich. 2014), the plaintiff

alleged that his mortgage lender and various others violated his constitutional rights

by foreclosing on his home and obtaining a judgment of possession. While the Court

found Rooker-Feldman inapplicable, it analyzed the defense in the light of

McCormick and Hoblock. In determining the source of plaintiff’s alleged injuries,

the Court looked to whether the defendants’ alleged wrongful conduct “led to” the

state court judgment of possession or “stemmed from” the judgment of possession.

After also noting that the misconduct alleged by Kropek occurred prejudgment and

did not take place “because of the state court judgment of possession,” the Court

held that the judgment was not the “source” of the alleged injuries and Rooker-

Feldman did not bar the claim.1 Kropek, id. at 888-89.

         Here, plaintiffs do not allege that Krichbaum fraudulently caused the

judgment to enter against Evans. They also do not allege any conduct on the part of

Krichbaum that “led to” the entry of the judgment or pre-dated judgment. Rather,

plaintiffs challenge conduct that “stemmed from” and/or was “the product of a

state court judgment.” Thus, as against Krichbaum, the source of plaintiffs’

alleged injuries is the state court judgment. Indeed, plaintiffs cannot obtain the relief



1
 The Court in Kropek approvingly quoted Hoblock for the proposition that “[w]here a
state-court judgment causes the challenged third-party action, any challenge to that
third-party action is necessarily the kind of challenge to the state judgment that only
the Supreme Court can hear.” Kropek, supra. at 889.
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they seek against Krichbaum – dissolution of the judgment and the cancellation of

Krichbaum’s fees – without the review and invalidation of the judgment.

         In light of the above, Rooker-Feldman divests this Court of jurisdiction as to

Count 5. 2

         C.    Plaintiffs’ have failed to show that they adequately pled bad
               faith.

         To overcome Krichbaum’s quasi-judicial immunity defense, plaintiffs must

plead bad faith and offer more than speculative and conclusory allegations.

Plaintiffs, however, did not plead bad faith. Nonetheless, they claim that their

allegations in complaint paragraphs 189 and 190 substantively allege bad faith.

They are wrong. In paragraph 189, Evans merely alleges that Krichbaum breached

his fiduciary duties because he, despite numerous requests, failed and refused to

provide her with rental income information “in a coherent format.” This is not an

allegation of bad faith. As to paragraph 190, plaintiffs allege that Krichbaum

breached his fiduciary duties by arranging to sell the Hatcher Home “for

substantially less money than the house was worth, to a friend of defendant Selby’s,

so that he could recover his attorney fees.” But plaintiffs’ allegation that Krichbaum

sought to sell the Hatcher Home for substantially less than it was worth is entirely


2
 Assuming that Rooker-Feldman does not apply to Count 14, the dismissal of Count
5 should result in the dismissal of Count 14. Absent federal jurisdiction over Count
5, the Court is either without jurisdiction over plaintiffs’ Count 14 state law tort
claims or, at best, has discretionary supplementary jurisdiction.
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conclusory. Further, their offensive allegations that Krichbaum acted corruptly to

benefit a friend of plaintiff’s former contractor and to benefit himself are purely

speculative. Plaintiffs have plead no facts that support them. And while Evans

claims she provided supporting evidence for these allegations in her declaration, she

did not. Indeed, she fails to offer a single fact that is probative of her bald assertions

of self-dealing.

         Hence, both Counts 5 and 14 can and should be dismissed based on

Krichbaum’s quasi-judicial immunity.

                                Respectfully submitted,

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Dated: June 21, 2021




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                           CERTIFICATE OF SERVICE

        I hereby certify that on June 21, 2021, I caused to be electronically filed the
 above document(s) with the Clerk of the Court using the efiling system, which
 will send notification of such filing to all counsel of record.

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